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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

(ATLANTA DIVISION)
SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,
Civil A. No.

Vv.
MICHAEL K. MOLEN, et ai.,

Defendants.

JUDGMENT AS TO DEFENDANT MICHAEL K. MOLEN

The Securities and Exchange Commission having filed a Complaint and
Defendant Michael K. Molen (“Defendant”) having entered a general appearance;
consented to the Court’s jurisdiction over Defendant and the subject matter of this
action; consented to entry of this Judgment without admitting or denying the
allegations of the Complaint (except as to jurisdiction and except as otherwise
provided herein in paragraph VIII); waived findings of fact and conclusions of law;
and waived any right to appeal from this Judgment:

I.
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,
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Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act’) [15
U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],
by using any means or instrumentality of interstate commerce, or of the mails, or
of any facility of any national securities exchange, in connection with the purchase
or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to state a
material fact necessary in order to make the statements made, in the light of
the circumstances under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person

by, directly or indirectly, (1) creating a false appearance or otherwise deceiving any
person about the price or trading market for any security, or (ii) making any false
or misleading statement, or disseminating any false or misleading documents,
materials, or information, concerning matters relating to a decision by an investor
or prospective investor to buy or sell securities of any company.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
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and (b) other persons in active concert or participation with Defendant or with
anyone described in (a).
I.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
that Defendant is permanently restrained and enjoined from violating Section 17(a)
of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the
offer or sale of any security by the use of any means or instruments of
transportation or communication in interstate commerce or by use of the mails,
directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a

material fact or any omission of a material fact necessary in order to make

the statements made, in light of the circumstances under which they were

made, not misleading; or

(c) to engage in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser
by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any
person about the price or trading market for any security, or (ii) making any false

or misleading statement, or disseminating any false or misleading documents,
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materials, or information, concerning matters relating to a decision by an investor
or prospective investor to buy or sell securities of any company.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service
or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with
anyone described in (a).

III.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
that Defendant is permanently restrained and enjoined from violating Section 5 of
the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
applicable exemption:

(a) Unless a registration statement is in effect as to a security, making use

of any means or instruments of transportation or communication in interstate

commerce or of the mails to sell such security through the use or medium of
any prospectus or otherwise;

(b) Unless a registration statement is in effect as to a security, carrying or

causing to be carried through the mails or in interstate commerce, by any
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means or instruments of transportation, any such security for the purpose of

sale or for delivery after sale; or

(c) Making use of any means or instruments of transportation or

communication in interstate commerce or of the mails to offer to sell or offer

to buy through the use or medium of any prospectus or otherwise any
security, unless a registration statement has been filed with the Commission

as to such security, or while the registration statement is the subject of a

refusal order or stop order or (prior to the effective date of the registration

statement) any public proceeding or examination under Section 8 of the

Securities Act [15 U.S.C. § 77h].

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service
or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendant or with
anyone described in (a).

IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)]], Defendant is prohibited
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from acting as an officer or director of any issuer that has a class of securities
registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 781] or that is
required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.
§ 780(d)].

V.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
that Defendant is permanently barred from participating in an offering of penny
stock, including engaging in activities with a broker, dealer, or issuer for purposes
of issuing, trading, or inducing or attempting to induce the purchase or sale of any
penny stock. A penny stock is any equity security that has a price of less than five
dollars, except as provided in Rule 3a51-1 under the Exchange Act [17 C.F.R.

§ 240.3a51-1].
VI.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
that Defendant shall pay disgorgement of ill-gotten gains, prejudgment interest
thereon, and a civil penalty pursuant to Section 20(d) of the Securities Act [15
U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].
The Court shall determine the amounts of the disgorgement and civil penalty upon
motion of the Commission. Prejudgment interest shall be calculated from May 18,

2017, based on the rate of interest used by the Internal Revenue Service for the
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underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In
connection with the Commission’s motion for disgorgement and/or civil penalties,
and at any hearing held on such a motion: (a) Defendant will be precluded from
arguing that Defendant did not violate the federal securities laws as alleged in the
Complaint; (b) Defendant may not challenge the validity of the Consent or this
Judgment; (c) solely for the purposes of such motion, the allegations of the
Complaint shall be accepted as and deemed true by the Court; and (d) the Court
may determine the issues raised in the motion on the basis of affidavits,
declarations, excerpts of sworn deposition or investigative testimony, and
documentary evidence, without regard to the standards for summary judgment
contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection
with the Commission’s motion for disgorgement and/or civil penalties, the parties
may take discovery, including discovery from appropriate non-parties.
VIL.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
Consent is incorporated herein with the same force and effect as if fully set forth
herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.
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VI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely
for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy
Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by
Defendant, and further, any debt for disgorgement, prejudgment interest, civil
penalty or other amounts due by Defendant under this Judgment or any other
judgment, order, consent order, decree or settlement agreement entered in
connection with this proceeding, is a debt for the violation by Defendant of the
federal securities laws or any regulation or order issued under such laws, as set
forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

IX.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Judgment.
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X.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and

without further notice.

Dated: , 2022

UNITED STATES DISTRICT JUDGE
